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     Acting Federal Defender
 2   MATTHEW M. SCOBLE, Bar #237432
     Designated Counsel for Service
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   ALEX LIAO
 7
                           IN THE UNITED STATES DISTRICT COURT
 8
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
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11
     UNITED STATES OF AMERICA,             ) No. Cr.S-11-056 LKK
12                                         )
                       Plaintiff,          )
13                                         ) ORDER AFTER HEARING
             v.                            )
14                                         )
     ALEX LIAO et al.,                     )
15                                         )
                       Defendant.          )
16                                         )
     _____________________________         )
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             This matter came on calendar for a status conference hearing on
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     January 23, 2013, in the courtroom of the Honorable Lawrence K.
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     Karlton, Senior Judge.       Assistant United States Attorney Todd Leras on
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     behalf of the United States of America.          Assistant Federal Defender
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     Matthew Scoble appeared on behalf of Defendant Alex Liao, who was
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     present before the court and in custody, and Michael Hansen appeared on
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     behalf of Defendant Binh Thu Lam was not present and has a waiver on
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     file.
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             Defense counsel explained that a settlement offer had just been
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     received and the defense needed time to discuss the matter with Mr
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 1   Liao. Defense counsel therefore requested that this matter be set for a
 2   further status conference on February 26, 2013, at 9:15 am.
 3        The parties agreed on the need for additional time.
 4        IT IS HEREBY ORDERED that this matter be set for further status
 5   conference on February 26, 2013 at 9:15 am..
 6        IT IS FURTHER ORDERED that pursuant to 18 U.S.C. §3161 (h)(7)(A)
 7   and (B)(iv), and Local Code T4, the period from January 23, 2013, up to
 8   and including February 26, 2013, is excluded from the time computations
 9   required by the Speedy Trial Act due to counsel preparation.
10        THE COURT SPECIFICALLY FINDS that the ends of justice served by
11   granting a continuance outweigh the interests of the public and the
12   defendants in a speedy trial.
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14   Dated: February 25, 2013
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